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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION
UNITED STATES OF AMERICA,


v.            CASE NO. 8:08-CR-525-T-17MAP

ELIAS ESTUPINAN RENGIFO.

                                  /


                                        ORDER


      This cause is before the Court on:


      Dkt. 213       Motion to Direct the Government to File a Rule 35 Motion

      Defendant Elias Estupinan Rengifo, £>ro se, moves the Court for an Order
directing the Government to file a Rule 35(b) motion for Defendant Rengifo’s
assistance.


      Defendant Rengifo entered into a Plea Agreement (Dkt. 159). Defendant
Rengifo agreed to cooperate fully with the United States (Dkt. 159, p. 4). The Plea
Agreement provides:


      If the cooperation is completed prior to sentencing, the government
      agrees to consider whether such cooperation qualifies as “substantial
      assistance” in accordance with the policy of the United States Attorney for
      the Middle District of Florida, warranting the filing a motion at the time of
      sentencing recommending (1) a downward departure from the applicable
      guideline range pursuant to USSG Sec. 5K1.1, or (2) the imposition of a
      sentence below a statutory minimum, if any, pursuant to 18 U.S.C. Sec.
      3553(e), or (3) both. If cooperation is completed subsequent to
      sentencing, the government agrees to consider whether such cooperation
      qualifies as “substantial assistance” in accordance with the policy of the
      United States Attorney for the Middle District of Florida, warranting the
      filing of a motion for a reduction of sentence within one year of the
      imposition of sentence pursuant to Fed. R. Crim. P. 35(b). In any case,
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        the defendant understands that the determination as to whether
        “substantial assistance” has been provided or what type of motion related
        thereto will be filed, if any, rests solely with the United States Attorney for
        the Middle District of Florida, and the defendant agrees that defendant
        cannot and will not challenge that determination, whether by appeal,
        collateral attack, or otherwise.

(Dkt. 159, pp. 4-5).

        The terms of the Plea Agreement explain that the decision to file a Rule 35
 motion rests solely with the United States Attorney for the Middle District of Florida.
 Defendant Rengifo has not alleged or proven that the Government acted with an
unconstitutional motive in not filing a Rule 35 motion. See Wade v. United States. 504
 U.S. 181 (1992); United States v. Perez-Morales. 322 Fed. Appx. 713 (11th Cir.
2009)(unpublished).


        After consideration, the Court denies Defendant Rengifo’s Motion to Direct the
Government to File a Rule 35 Motion without prejudice for lack of jurisdiction.
Accordingly, it is


        ORDERED that Defendant Rengifo’s Motion to Direct the Government to File a
 Rule 35 Motion is denied without prejudice for lack of jurisdiction.


        DONE and ORDERED in Chambers in Tampa, Florida on this                            f
 February, 201«




Copies to:
All parties and counsel of record


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